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EVIDENCE OF TRANSFER OF CLAIM

TO:              United States Bankruptcy Court
                 for the District of Delaware (“Court”)

AND:             FTX Trading Ltd. (“Debtor”)
                 Case No. 22-11068 (JTD) (“Case”)

CLAIM:           Proof of Claim No. 10638 (“Proof of Claim”)
                 Schedule No. 6820726 (Schedule”)
                 Confirmation ID No. 3265-70-NEPMX-733604004 (“Confirmation ID”)
                 Customer Code No. 00735404 (“Customer Code”)

                 0x8CfbCc5f4cd771B54e3206DB55773971a124198D (“Contract No.”)
                 ERC-721 Token ID 21 (“Token ID”)




TRANSACTION HASH: 0x433eb29c9307e5b447121c4f32f8170837d1bd6e722669fa48e8a
                  195797dd96e

                      , for good and valuable consideration, the receipt and sufficiency of which are
hereby acknowledged, as further evidenced by the Ethereum Transaction Hash provided directly above,
and pursuant to the terms of an Assignment of Claim Agreement dated as of December 28, 2023, does
hereby certify that he has unconditionally and irrevocably sold, transferred and assigned to:

        Phoenix Digital LLC
        Attn: Tian Zeng
        42 W 33rd St, 27B
        New York, NY 1000
Email: tzeng@nirvana-cap.com

and its successors and assigns (“Buyer”), all rights, title, and interest in and to (a) the Proof of Claim, (b)
the Schedule, (c) the Confirmation ID and (d) the Customer Code (collectively the “Claim”) and all cash,
principal, interest and other property that may be distributed on account of the Claim.

Seller hereby waives any objection to the transfer of the Claim to Buyer on the books and records of the
Debtor and the Bankruptcy Court, and hereby waives to the fullest extent permitted by law any notice or
right to a hearing as may be imposed by Rule 3001 of the Federal Rules of Bankruptcy Procedure, the
United States Bankruptcy Code, applicable local bankruptcy rules or applicable law. Seller acknowledges,
understands, and agrees, and hereby stipulates that an order of the Bankruptcy Court may be entered without
further notice to Seller transferring to Buyer the Claim and recognizing Buyer as the sole owner and holder
of the Claim.
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                                     Identity of Transferor

Transferee has in its possession an Evidence of Transfer signed by the Transferor.

To protect the identity of the Transferor, Transferee has not disclosed the Transferor’s name or
address, and has not attached the signed Evidence of Transfer to this Notice of Transfer of Claim.

Upon written request, Transferee is prepared to provide a copy of the signed Evidence of Transfer
to the Bankruptcy Court, the Debtors, and appropriate professionals.
